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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                      1/5/2021
 Eslam Hassan,

                        Plaintiff,
                                                                                19-cv-8864 (AJN)
                 –v–
                                                                                     ORDER
 Correction Officer Jane Doe, et al.,

                        Defendants.



ALISON J. NATHAN, District Judge:

       On December 1, 2020, the Defendants filed a motion to dismiss for failure to prosecute

pursuant to Federal Rule of Civil Procedure 41(b) and served the motion on the Plaintiff the

same day. See Dkt. Nos. 41, 44. Pursuant to Local Rule 6.1(b), the Plaintiff’s opposition to the

motion was due within fourteen days of service of the motion. The Court has received no

opposition to the motion.

       It is therefore ORDERED that the Plaintiff shall file an opposition to the Defendants’

motion to dismiss (Dkt. No. 41) no later than January 29, 2021, or the Court will dismiss the

action for failure to prosecute.

       The Clerk of Court is respectfully directed to mail a copy of this Order to the Plaintiff at

both his address of record and the address identified in the Defendants’ memorandum of law,

712 Crown Street, Apt. F19, Brooklyn, NY 11213, and to note the mailings on the public docket.


       SO ORDERED.


Dated: January 5, 2021                             __________________________________
       New York, New York                                   ALISON J. NATHAN
                                                          United States District Judge
